  Case 1:22-cv-00412-TAM Document 44 Filed 04/10/24 Page 1 of 1 PageID #: 81




GREGORY S. LISI, ESQ.
PARTNER
GLISI@FORCHELLILAW.COM

                                                        April 10, 2024
Via ECF
The Honorable Taryn A. Merkl
United States Magistrate Judge
United States District Court, Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

        Re:     Letter Motion to Extend Time for Parties to File Joint Status Report
                Case Name: Munguia v. Green Village Meat Market Corp.
                Case No.: 22-cv-00412 (TAM)

Dear Judge Merkl:

       This law firm represents defendants, Green Village Meat Market Corp. and Marcelo
Martinez (collectively “Defendants”), in the above referenced case. By order dated March 18,
2024, Your Honor directed the parties to file a joint status report by April 15, 2024. Pursuant to
Rule 2(A) of Your Honor’s Individual Rules and Practices, Defendants write to request a 30-day
extension of time for the parties to submit their joint status report in this matter by no later than
May 15, 2024.

        Defendants submit this extension request because: (1) my colleague, Alexander Leong,
Esq. and I, who were recently retained to represent Defendants in this case, are currently on trial
in an ongoing hearing before the National Labor Relations Board (“NLRB”) in an unrelated matter,
and the NLRB hearing will likely continue for several additional weeks; and (2) Mr. Leong and I
are awaiting a copy of the case file from Defendants’ former counsel, Levin-Epstein & Associates,
P.C., and require additional time to conduct a review the status of this case. My office has
conferred with Plaintiff’s counsel, Katelyn Schillaci, Esq., who consents to this request. This is
the Defendants’ first request for an extension of the April 15th deadline to file a joint status report.

        We thank the Court for its time and consideration.
                                                        Respectfully submitted,
                                                        FORCHELLI DEEGAN TERRANA LLP

                                                        By: /s/ Gregory S. Lisi
                                                                Gregory S. Lisi

cc:     Katelyn Schillaci, Esq., Plaintiff’s counsel (via ECF)



The Omni  333 Earle Ovington Blvd., Suite 1010  Uniondale, NY 11553  516.248.1700  forchellilaw.com
